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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


STORMY BLANKINSHIP,                           )       CASE NO. 2:17-cv-00777
                                              )
                                              )       JUDGE WATSON
                       Plaintiff,             )
                                              )       STIPULATION OF DISMISSAL
                                              )       WITH PREJUDICE
                              v.              )
                                              )
                                              )
SEQUEL YOUTH AND FAMILY                       )
SERVICES,                                     )
                                              )
                       Defendant.             )


       Now come the Plaintiff Stormy Blankinship and Defendant Sequel Youth and Family

Services (hereafter the “Parties”), by and through the undersigned counsels, and hereby stipulate

pursuant to Fed. R. Civ. P. 41(a)(1)(ii) to the Plaintiff’s dismissal of this action with prejudice.

The Parties have resolved this matter to their mutual satisfaction.

                                              /s/ Robert M. Robenalt
                                              Robert M. Robenalt (0042251)
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                                              Services




FPDOCS 34890560.1
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                                              /s/ Rayl L. Stepter (per written authorization)
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                                              Attorney for Plaintiff Stormy Blankinship


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing Stipulation

of Dismissal With Prejudice was filed via the Court’s CM/ECF system this 29th day of January,

2019, and that said system will electronically notify and serve all Parties of record.

                                              /s/ Robert M. Robenalt
                                              Robert M. Robenalt (0042251)




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